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        January 25, 2023

        Patricia S. Connor, Clerk
        United States Court of Appeals for the Fourth Circuit
        Lewis F. Powell, Jr. United States Courthouse Annex
        1100 East Main Street, Suite 501
        Richmond, Virginia 23219-3517

               Re:         No. 21-2051, Adkins v. CSX Transportation, Inc.,
                           Federal Rule of Appellate Procedure 28(j) Letter

        Dear Ms. Connor:

               Defendants notify the Court of Juday v. FCA US LLC, No. 21-1414 (7th Cir.
        Jan. 12, 2023), which affirmed summary judgment on FMLA interference and
        retaliation claims for the same reasons the Court should here. As here, the employer
        confronted the plaintiff with a suspicious confluence of FMLA leave requests; over
        half of the employee’s requests coincided with his wife’s (who worked at the same
        plant). Op. 4; see also Response Br. 4-8 (describing the wave of FMLA requests
        amid furlough activity). After interviewing husband and wife, the employer
        concluded that they had made false statements about their FMLA requests and
        suspended them. Op. 4-5.

               Summary judgment was proper on the interference claim because the
        employees had no “explanation for the frequency of the common dates and times”
        of their FMLA request. Op. 8. The FMLA “does not insulate an employee from
        discipline for abusing his leave rights.” Op. 7. And “an employer need not
        conclusively prove that the employee abused his FMLA leave; rather, an ‘an honest
        suspicion will do.’” Id. (quoting Kariotis v. Navistar Int’l Transp. Corp., 131 F.3d
        672, 681 (7th Cir. 1997)); Response Br. 37-42. So the Seventh Circuit rejected that
        plaintiff’s argument that there must be “more concrete evidence of FMLA abuse.”
        Op. 8; contra Reply Br. 9-12. And it upheld summary judgment because there was
        “no evidence suggesting that FCA’s suspicion of FMLA abuse was anything other
        than genuine.” Op. 8; Response Br. 42-45. The Seventh Circuit affirmed judgment
        on the retaliation claim “for the same reason as [the] interference claim.” Op. 9.

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               Summary judgment should be affirmed here for the same reasons. Plaintiffs
        offer no innocent explanation for the unprecedented spike in cookie-cutter FMLA
        requests, nor any evidence that CSXT’s suspicion was not genuine. Indeed,
        Plaintiffs had ample opportunity to dispel that suspicion in an extensive collectively
        bargained process that allowed them union representation, an opportunity to
        introduce their own evidence, and review by union and neutral Public Law Board
        members. Response Br. 9-14. Although that process is not necessary for summary
        judgment on these FMLA claims, it is amply sufficient here.

                                               Respectfully submitted,

                                               /s/ Brian D. Schmalzbach
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        Enclosure

        CC: Counsel of record
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                                                    In the

                         United States Court of Appeals
                                      for the Seventh Circuit
                                          ____________________
                   No. 21-1414
                   MICHAEL JUDAY,
                                                                       Plaintiff-Appellant,
                                                      v.

                   FCA US LLC,
                                                                      Defendant-Appellee.
                                          ____________________

                              Appeal from the United States District Court for the
                               Southern District of Indiana, Indianapolis Division.
                        No. 1:19-cv-00831-TWP-MPB — Tanya Walton Pratt, Chief Judge.
                                          ____________________

                        ARGUED OCTOBER 29, 2021 — DECIDED JANUARY 12, 2023
                                     ____________________

                      Before SYKES, Chief Judge, and KANNE ∗ and HAMILTON,
                   Circuit Judges.
                      SYKES, Chief Judge. Michael Juday has worked for FCA US
                   LLC (formerly Chrysler) for more than two decades. In 2014
                   he married his wife Becky, also a veteran FCA employee.

                   ∗ Circuit Judge Kanne died on June 16, 2022, and did not participate in
                   the decision of this case, which is being resolved under 28 U.S.C. § 46(d)
                   by a quorum of the panel.
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                   The Judays work at the company’s transmission plant in
                   Kokomo, Indiana. In 2017 they submitted medical certifica-
                   tions from their healthcare providers to take intermittent
                   leave from work under the Family and Medical Leave Act
                   (“FMLA” or “the Act”), 29 U.S.C. §§ 2601 et seq., for periodic
                   flare-ups of their serious health conditions.
                       At the end of that year, FCA’s outside FMLA administra-
                   tor notified the company that Michael and Becky had fre-
                   quently taken overlapping periods of FMLA leave. FCA
                   opened an investigation, and neither Michael nor Becky
                   could explain why they had requested FMLA leave on so
                   many of the same dates and times. At the conclusion of the
                   investigation, FCA suspended the couple for providing false
                   or misleading information in connection with their FMLA
                   leave requests. Michael Juday then filed suit accusing FCA
                   of interfering with his rights under the Act and retaliating
                   against him for using FMLA leave. The district judge entered
                   summary judgment for FCA on both claims.
                      We affirm. To prevail on his claims for FMLA interfer-
                   ence and retaliation, Juday needed to present evidence that
                   would permit a reasonable jury to find that his suspension
                   was not based on an honest suspicion of FMLA abuse. He
                   did not do so.
                                          I. Background
                      Michael Juday began working for FCA as a machine re-
                   pairman in 1998. He married Becky, another long-time FCA
                   employee, in 2014. Throughout 2017 both Judays requested
                   and were granted intermittent FMLA leave for their serious
                   health conditions. As required by the Act, FCA permits its
                   employees to take up to 12 weeks of leave per year for
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                   qualifying health conditions with no reduction in position or
                   pay. Michael requested FMLA leave for anxiety, depression,
                   and back pain; Becky requested FMLA leave for flare-ups of
                   irritable bowel syndrome.
                       The Judays’ healthcare providers completed the neces-
                   sary medical certifications, which included descriptions of
                   the reasons for intermittent FMLA leave and how frequently
                   leave would be required. The providers submitted the
                   certifications directly to Sedgwick Claims Management
                   Services, Inc., FCA’s third-party FMLA administrator. In
                   2017 Michael occasionally exceeded the leave he was allotted
                   by his healthcare provider. However, he was able to contin-
                   ue taking leave without discipline by submitting updated
                   recertifications throughout the year. Sedgwick granted every
                   leave request Michael and Becky submitted that year. They
                   returned from each period of leave without reduction in
                   position or pay.
                      Throughout the year, Sedgwick periodically reviewed
                   the Judays’ leave requests. Under FCA’s FMLA policy,
                   “[p]roviding any false or misleading information relative to
                   a requested or approved FMLA leave will be cause for
                   disciplinary action, up to and including discharge.” As a
                   more general matter, “[p]roviding false or misleading in-
                   formation to the [c]ompany” violates FCA’s standards for
                   employee conduct. Michael knew that these policies applied
                   when communicating leave requests to Sedgwick.
                       In December 2017 a Sedgwick supervisor e-mailed Anne
                   Stebbins, the FMLA administrator at FCA, flagging a signifi-
                   cant pattern of overlap in the Judays’ FMLA leave dates.
                   Stebbins independently reviewed the couple’s leave requests
                   for that year and found 21 common days of absence and an
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                   additional 27 days on which their partial-day leave requests
                   overlapped.
                      An investigation ensued, and FCA labor-relations man-
                   agers interviewed Michael and Becky separately, with their
                   union representatives present. Michael indicated that
                   Becky’s irritable bowel syndrome flare-ups would trigger his
                   anxiety 20%–30% of the time and that his medical conditions
                   would also randomly intensify. Becky similarly stated that
                   her irritable bowel syndrome episodes were random and
                   sometimes triggered by stressful situations, including flare-
                   ups of Michael’s condition. Responding to questions about
                   the overlapping partial-leave days, Michael said that he and
                   Becky carpooled to work about half of the time. Neither
                   Michael nor Becky had any explanation for why their leave
                   requests overlapped as frequently as they did.
                       When the investigation concluded, Stebbins reviewed the
                   interview transcripts and the couple’s overall attendance
                   records for the year. She found that more than half of
                   Michael’s FMLA absences and half of his late days were on
                   the same date and at the same time as Becky’s. This conflict-
                   ed with Michael’s estimate that his need for FMLA leave was
                   triggered by Becky’s condition about 20%–30% of the time.
                   Stebbins also noted that the Judays’ shifts started within
                   12 minutes of each other, with Michael starting at 5:48 a.m.
                   and Becky starting at 6 a.m. After consulting with labor-
                   relations representatives and FCA counsel, Stebbins con-
                   cluded that the couple had provided false or misleading
                   information to FCA regarding their 2017 FMLA leave.
                      On February 6, 2018, Michael was placed on a 30-day
                   disciplinary layoff for violating FCA’s standards of con-
                   duct—namely, the rules against providing false or mislead-
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                   ing information regarding leave requests. Becky also re-
                   ceived a disciplinary suspension. Michael returned to work
                   in March to the same position, supervisor, and rate of pay as
                   before his suspension and has continued to take periodic
                   FMLA leave.
                       About a year later, Michael sued FCA alleging that his
                   suspension amounted to interference with his FMLA rights
                   and retaliation for exercising his right to FMLA leave. On
                   cross-motions for summary judgment, the judge held that
                   the interference claim failed because the undisputed evi-
                   dence showed that the disciplinary suspension was based on
                   an honest suspicion of FMLA abuse. The judge rejected the
                   retaliation claim for the same reason.
                                          II. Discussion
                       We review the judge’s ruling on cross-motions for sum-
                   mary judgment de novo, construing the evidence and draw-
                   ing reasonable inferences in the light most favorable to the
                   party against whom the motion under consideration was
                   made. See Chi. Tchrs. Union v. Bd. of Educ., 14 F.4th 650, 654
                   (7th Cir. 2021). Summary judgment is appropriate when
                   there are no material facts in dispute and the moving party
                   is entitled to judgment as a matter of law. FED. R. CIV.
                   P. 56(a).
                      As relevant here, the FMLA entitles eligible employees to
                   take up to 12 weeks of unpaid leave each year for “a serious
                   health condition that makes the employee unable to perform
                   the functions of the position.” 29 U.S.C. § 2612(a)(1)(D).
                   Upon return to work, employees are entitled to the same
                   position or “an equivalent position with equivalent em-
                   ployment benefits, pay, and other terms and conditions of
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                   employment.” Id. § 2614(a)(1)(B). But returning employees
                   are entitled only to those rights that “the employee would
                   have been entitled had the employee not taken the leave.” Id.
                   § 2614(a)(3)(B); see also 29 C.F.R. § 825.216(a) (“An employee
                   has no greater right to reinstatement or to other benefits and
                   conditions of employment than if the employee had been
                   continuously employed during the FMLA leave period.”).
                   That is, FMLA entitlements apply only if an employee uses
                   his statutory leave “for the intended purpose.” 29 U.S.C.
                   § 2614(a)(1); see also Scruggs v. Carrier Corp., 688 F.3d 821, 825
                   (7th Cir. 2012).
                      FMLA claims generally come in two forms: interference
                   and retaliation. It is unlawful for an “employer to interfere
                   with, restrain, or deny the exercise of or the attempt to
                   exercise” an FMLA right. 29 U.S.C. § 2615(a)(1). And an
                   employer may not retaliate against an employee for exercis-
                   ing his FMLA rights. See id. § 2615(a)(2); see also Nicholson v.
                   Pulte Homes Corp., 690 F.3d 819, 825 (7th Cir. 2012). To pre-
                   vail on an FMLA interference claim, an employee must
                   prove that he was denied a right to which he was entitled;
                   proof of discriminatory intent is not required. Scruggs,
                   688 F.3d at 825. A retaliation claim, in contrast, “requires
                   proof of discriminatory or retaliatory intent.” Nicholson,
                   690 F.3d at 825.
                   A. FMLA Interference
                      An employee claiming FMLA interference must show
                   that: (1) he was eligible for FMLA protections; (2) his em-
                   ployer was covered by the FMLA; (3) he was entitled to take
                   leave under the FMLA; (4) he provided sufficient notice of
                   his intent to take leave; and (5) his employer “interfered
                   with, restrained, or denied FMLA benefits to which he was
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                   entitled.” Ziccarelli v. Dart, 35 F.4th 1079, 1089 (7th Cir. 2022).
                   At issue here is the last element.
                       It’s undisputed that all of Juday’s leave requests were
                   granted and that he returned to his position as a machine
                   repairman without any reduction in pay or benefits. But a
                   Labor Department regulation provides that FMLA interfer-
                   ence can include “us[ing] the taking of FMLA leave as a
                   negative factor in employment actions, such as hiring,
                   promotions or disciplinary actions.” 29 C.F.R. § 825.220(c);
                   see also Preddie v. Bartholomew Consol. Sch. Corp., 799 F.3d 806,
                   818 (7th Cir. 2015). Juday argues that FCA used his FMLA
                   leave requests as a negative factor in imposing the 30-day
                   disciplinary suspension.
                       This argument presumes that Juday used his FMLA leave
                   for its intended purpose. But the Act does not insulate an
                   employee from discipline for abusing his leave rights.
                   Kariotis v. Navistar Int’l Transp. Corp., 131 F.3d 672, 681–82
                   (7th Cir. 1997). In a claim of this type, an employer need not
                   conclusively prove that the employee abused his FMLA
                   leave; rather, an “an honest suspicion will do.” Id. at 681. We
                   have applied this “honest suspicion” standard when an
                   employer declined to reinstate an employee suspected of
                   using leave for an impermissible purpose. See Scruggs,
                   688 F.3d at 825–26; Vail v. Raybestos Prods. Co., 533 F.3d 904,
                   909 (7th Cir. 2008); Kariotis, 131 F.3d at 680–81. The same
                   standard applies to the disciplinary suspension at issue here.
                      The district judge entered summary judgment for FCA
                   because nothing in the record calls into question FCA’s
                   honest suspicion that Juday abused his FMLA leave. It is
                   undisputed that 50% of the Judays’ leave requests over-
                   lapped. But Michael estimated that his anxiety flare-ups
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                   were triggered by his wife’s medical condition only about
                   20%–30% of the time, and neither Juday had any explanation
                   for the frequency of the common dates and times of their
                   FMLA absences. After reviewing the Judays’ interview
                   transcripts and attendance records, Stebbins concluded that
                   Michael had given false or misleading information to FCA
                   regarding his 2017 FMLA leave, violating FCA’s employee
                   standards of conduct.
                      Juday argues that our caselaw requires more concrete ev-
                   idence of FMLA abuse. For support he points to Vail v.
                   Raybestos Products Co., 533 F.3d at 906. There the employer
                   was suspicious that an employee was using FMLA leave to
                   work at her husband’s lawn-mowing business because her
                   leave requests had increased during the summer and fall
                   mowing season. An off-duty police officer hired by the
                   employer had observed the employee mowing lawns on a
                   morning that coincided with the employee’s back-to-back
                   leave requests for migraines. Id. at 906–07. That evidence
                   was sufficient to support the employer’s honest suspicion of
                   FMLA abuse. Id. at 909–10.
                      Juday contends that FCA’s investigation falls short of the
                   evidence we found sufficient in Vail. But our decision in Vail
                   did not raise the bar for FMLA-abuse investigations; nothing
                   we said there requires employers to conduct surveillance
                   before disciplining an employee for abusing FMLA leave.
                   That the evidence in Vail was sufficient to defeat the claim
                   does not mean that surveillance evidence is necessary to
                   defeat an FMLA claim of this type. Because Juday presented
                   no evidence suggesting that FCA’s suspicion of FMLA abuse
                   was anything other than genuine, the judge properly entered
                   judgment for FCA on the FMLA interference claim.
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                   B. FMLA Retaliation
                       To prevail on a claim for retaliation in violation of the
                   FMLA, a plaintiff must show that (1) he engaged in FMLA-
                   protected activity; (2) his employer took an adverse em-
                   ployment action against him; and (3) there is a causal con-
                   nection between the two. Curtis v. Costco Wholesale Corp.,
                   807 F.3d 215, 220 (7th Cir. 2015) (quoting Cracco v. Vitran
                   Express, Inc., 559 F.3d 625, 633 (7th Cir. 2009)). As we’ve
                   noted, the claim requires proof of discriminatory intent—
                   evidence that the employer “was acting under a prohibited
                   animus.” Cracco, 559 F.3d at 634. An employee alleging
                   FMLA retaliation may establish discriminatory intent by
                   either the direct or indirect method of proof. See Burnett v.
                   LFW Inc., 472 F.3d 471, 480 (7th Cir. 2006). Juday proceeds
                   under the former. 1 The direct method of proof permits
                   inferences drawn from circumstantial evidence—the plaintiff
                   can rely on “a convincing mosaic of circumstantial evidence
                   that allows a jury to infer intentional discrimination by the
                   decisionmaker.” Scruggs, 688 F.3d at 827 (quotation marks
                   omitted).
                       Juday’s retaliation claim fails for the same reason as his
                   interference claim: the record evidence shows that FCA
                   disciplined him based on an honest suspicion that he was
                   abusing his FMLA leave—more specifically, he had violated
                   the company’s rules against providing false or misleading
                   information in connection with his FMLA leave. Juday


                   1 The indirect method of proof, on the other hand, requires a plaintiff to
                   show that he was treated differently than a similarly situated employee
                   who did not take FMLA leave, despite a satisfactory job performance. See
                   Burnett v. LFW Inc., 472 F.3d 471, 481–82 (7th Cir. 2006).
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                   needed to produce evidence from which a reasonable jury
                   could infer that FMLA abuse was not FCA’s real reason for
                   imposing discipline and that the company was instead
                   retaliating against him for exercising his statutory leave
                   rights. He did not do so. The judge properly entered sum-
                   mary judgment for FCA on the retaliation claim too.
                                                                   AFFIRMED
